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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


UNITED STATES OF AMERICA                          :
                                                  :
               v.                                 :           No. 3:06 CR 120 (SRU)
                                                  :
LUIS ROBLES, ET AL.                               :


                                              ORDER

        The indictment in the above-captioned case, filed May 2, 2006, named sixteen defendants

and contained twenty-seven counts. Since then, approximately 135 motions have been filed in

this action.

        By order of the court, the defendants in this case will be tried beginning on November 6,

2006, with jury selection scheduled for November 3, 2006.

        The court finds that the above-captioned case is unusual and complex due to, among

other things, the number of defendants, counts, and filed motions. In considering and balancing

the factors set forth in 18 U.S.C. § 3161(h)(8)(B)(I) through (iv), the court finds that, pursuant to

18 U.S.C. § 3161(h)(8)(A), the ends of justice, including the defendants’ interests in effective

counsel and adequate trial preparation, and the court’s interest in the orderly administration of

justice, outweigh the best interest of the public and the defendants in a speedy trial. Therefore,

the period from the arraignment of each defendant through each of the trial dates is not an

unreasonable delay and is excludable from the computation of time within which trial must

commence under the Speedy Trial Act.
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It is so ordered.

Dated at Bridgeport, Connecticut, this 7th day of July 2006.


                                             /s/ Stefan R. Underhill
                                             Stefan R. Underhill
                                             United States District Judge
